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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7

 8       DONALD E. MORISKY,
                                                                   CASE NO. 2:21-CV-1301-RSM-DWC
                                    Plaintiff,
 9
                                                                   ORDER AWARDING FEES AND
                  v.                                               COSTS
10
         MMAS RESEARCH LLC, et al.,
11
                                    Defendants.
12

13            On April 27, 2023, the Court entered an order granting Plaintiff Donald E. Morisky’s

14 request for award of fees and costs related to his Motion to Compel Depositions and

15 Interrogatory Responses and for Sanctions (“Motion”). Dkt. 123. The Court directed Plaintiff to

16 provide “the specific amount of expenses reasonably expended in attempting to depose

17 Defendants and regarding the Motion, including documentation to support the request for

18 expenses.” Id. On May 11, 2023, Plaintiff filed a Memorandum of Fees and Costs supported by

19 the Declaration of Amanda Bruss and the Declaration of F. Christopher Austin. Dkts. 125, 127,

20 128. 1 On May 26, 2023, Defendants filed Objections in Response to Plaintiff’s Memorandum of

21 Fees and Costs supported by the Declaration of Steven Trubow. Dkts. 130, 131.

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23            1
                Plaintiff also filed a Declaration in Support of Memorandum of Fees and Costs of F. Christopher Austin at
     Dkt. 126, but the document is a duplicate of the document filed at Dkt. 109. Thus, Court has not considered it as part
24   this Order.



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 1           Plaintiff requests the Court order Defendants, jointly and severally, to reimburse Plaintiff

 2 $47,876.50 in attorney’s fees and $2,559.69 in costs for a total award of $50,436.19. Dkt. 125.

 3 Defendants take responsibility for the inability to appear and timely respond to discovery;

 4 however, they believe the sums requested by plaintiff are well beyond reasonable and should be

 5 substantially reduced. Dkt. 130.

 6      I.      Reasonableness of Attorney Fees

 7           To determine the amount of a reasonable fee, courts in the Ninth Circuit first apply the

 8 “lodestar” method and then may adjust the lodestar “upward or downward based on a variety of

 9 factors.” Gonzalez v. City of Maywood, 729 F.3d 1196, 1202 (9th Cir. 2013) (citations omitted).

10 “The lodestar method multiplies the number of hours ‘the prevailing party reasonably expended

11 on the litigation by a reasonable hourly rate.’” Ballen v. City of Redmond, 466 F.3d 736, 746 (9th

12 Cir. 2006) (quoting McGrath v. County of Nevada, 67 F.3d 248, 252 (9th Cir. 1995).

13           According to plaintiff, the lodestar amount is $50,436.19 which represents $47,876.50 in

14 attorney’s fees and $2,559.69 in costs, all incurred with respect to his motions to compel

15 defendants’ depositions and discovery responses. Dkt. 125. However, the time for local counsel

16 Crowley of $420 is included as an expense. Thus, the fees sought total $48,286.50 and costs total

17 $2,139.69. The fees sought include time billed by Attorneys F. Christopher Austin at the rate of

18 $485 an hour, Amanda L. Bruss at the rate of $325 an hour, local counsel William J. Crowley at

19 the rate of $300 an hour, and Brianna Show, Paralegal, billed time at $140 an hour.

20           A. Hourly Rate

21           The standard hourly rates for plaintiff’s counsel are in the higher range, but they are not

22 unreasonable, and appear to be in line with the prevailing market rates in this district. Plaintiff

23 cites to another case within this district which supports hourly rates for attorneys in this district

24


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 1 in the range from $300 per hour for associates to $545 per hour for the most senior litigators.

 2 Roque v. Seattle Housing Authority, 2:20-cv-00658-JRC (Sep. 28, 2021) (Dkt. 92). Attorney

 3 Austin has over 27 years of experience with over 23 of those years focused nearly exclusively on

 4 intellectual property matters. He has been lead counsel in nearly 30 trials. Attorney Bruss has

 5 litigated copyright infringement cases in federal courts around the country since 2011, serving as

 6 lead counsel in most of her cases. Attorney Crowley serves as local counsel. Based on the

 7 declarations provided, the rates for each of the attorneys appear to be in line with the hourly rates

 8 of other attorneys with similar experience and expertise. Therefore, the Court concludes that

 9 plaintiff’s hourly rates are reasonable.

10          B. Hours Expended

11          Plaintiff’s counsel provided documentation showing 113.4 professional hours incurred

12 related to preparing for and traveling to the deposition at which defendants failed to appear and

13 in drafting and filing the motions to compel. Dkt. 125-1. The hours incurred include attorney

14 work hours attributed to Austin, Buss, and Crowley and paralegal work hours attributed to Snow.

15 The amount of time expended by plaintiff’s counsel exceeds the amount of time that should have

16 been reasonably spent on the depositions and motions to compel. When determining a fee

17 calculation, district courts can exclude hours that were not reasonably expended. See Hensley,

18 461 U.S. at 434. In doing so, courts have “the authority to make across-the-board percentage cuts

19 in the number of hours claimed or in the final lodestar figure.” Gates v. Deukmejian, 987 F.2d

20 1392, 1399 (9th Cir. 1992). Here, in considering the reasonableness of the professional hours

21 expended, the Court will make an across-the-board percentage cut to the final lodestar number,

22 as described below.

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 1          C. Adjustment to the Lodestar

 2          District Courts may adjust the amount awarded for attorney fees by a “variety of factors.”

 3 Moreno v. City of Sacramento, 534 F.3d 1106, 1111 (9th Cir. 2008). According to the Supreme

 4 Court, the most critical factor in determining the reasonableness of an award is “the degree of

 5 success obtained.” Farrar v. Hobby, 506 U.S. 103, 114 (1992). The Court is “obligated” to

 6 “compare” the relief the plaintiff originally sought with the relief he ultimately obtained. Id.

 7 (internal quotations omitted). Here, plaintiff acted reasonably in seeking to complete the

 8 depositions and obtain responses to the discovery that it properly propounded. Plaintiff also

 9 achieved success in compelling discovery responses and defendants’ appearance at a deposition.

10 Defendants have taken responsibility for the inability to appear and to timely respond to the

11 discovery. Defendants state the skill of plaintiff’s attorneys is not in question, but the drafting of

12 a motion to compel, handling a deposition that did not occur, and traveling to Seattle does not

13 require extraordinary skill.

14          As stated above the Court finds the hours expended and, therefore, the fee request should

15 be reduced. First, the Court declines to require reimbursement for the fees sought for travel time

16 and the inability to work on other matters. Second, plaintiff seeks reimbursement for some

17 services that are not a direct result of Trubow missing the deposition or plaintiff’s counsel’s

18 filing the motions to compel. For example, plaintiff’s counsel seeks reimbursement for preparing

19 for the deposition. Trubow was eventually deposed and counsel should not be reimbursed for the

20 legal preparation for a deposition that occurred at a later date. Additionally, counsel should not

21 be reimbursed for communications and work that would have been done regardless of the lack of

22 response from defendants. Third, some reduction should be considered based on the skill

23 necessary for the particular services rendered by the attorneys. Thus, the Court concludes that

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 1 this case merits a thirty-five percent (35%) percent reduction on the overall fees. Such a

 2 reduction is within the Court’s discretion, see Moreno, 534 F.3d at 1112, and reflects a variety of

 3 factors, including all the counterbalancing considerations set forth above. Therefore, after

 4 reduction, the total fee award for the motions to compel is $31,386.23.

 5            D. Costs

 6            Pursuant to Fed. R. Civ. P. 37(d), “the court must require the party failing to act, the

 7 attorney advising that party, or both to pay the reasonable expenses” when failing to appear at a

 8 deposition unless it would be unjust. The Court has determined costs are appropriate. See Dkt.

 9 123. Here, plaintiff seeks a total of $2,139.69 for costs incurred. Defendants state plaintiff has

10 not explained why the court reporter expense was incurred once the deposition was cancelled.

11 Defendants do not dispute the roundtrip travel, lodging or per diem expenses. Plaintiff does

12 explain that a no-appearance fee was required by the court reporter and a record was made to

13 identify exhibits and reflect defendant’s nonappearance. Dkt. 125-1 at 13. Therefore, plaintiff is

14 awarded $2,139.69 in costs.

15      II.      Conclusion

16            Based on the foregoing, plaintiff shall be awarded $31,386.23 in attorney’s fees and

17 $2,139.69 in costs for a total of $33,525.92. Defendants shall remit to plaintiff, care of plaintiff’s

18 counsel, Weide & Miller, Ltd., within 30 days of the date of this Order, otherwise additional

19 sanctions may be imposed.

20            Dated this 15th day of June, 2023.

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22
                                                             A
                                                             David W. Christel
23                                                           Chief United States Magistrate Judge

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     ORDER AWARDING FEES AND COSTS - 5
